          Case 5:21-cv-00892-G Document 10 Filed 11/09/21 Page 1 of 2




                   UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

DAVID SAMUEL CRENWELGE,                       )
                                              )
       Petitioner,                            )
                                              )
v.                                            )   Case No. CIV-21-892-G
                                              )
STATE OF OKLAHOMA et al.,                     )
                                              )
       Respondents.                           )

                                         ORDER

       Petitioner David Samuel Crenwelge, a state prisoner appearing pro se, filed a habeas

petition and an application seeking leave to proceed in forma pauperis. The matter was

referred to Magistrate Judge Suzanne Mitchell for initial proceedings in accordance with

28 U.S.C. § 636.

       On September 13, 2021, Judge Mitchell issued a Report and Recommendation (Doc.

No. 6) finding that Petitioner has available funds sufficient to prepay the $5.00 filing fee

and recommending that Petitioner’s application for leave to proceed in forma pauperis be

denied.

       In the Report and Recommendation, Judge Mitchell advised Petitioner of his right

to object to the Report and Recommendation by October 4, 2021. Judge Mitchell also

advised that a failure to timely object would constitute a waiver of the right to appellate

review of the factual findings and legal conclusions contained in the Report and

Recommendation.
          Case 5:21-cv-00892-G Document 10 Filed 11/09/21 Page 2 of 2




       As of this date, Petitioner has submitted additional correspondence to the Court but

has not filed any objection to the Report and Recommendation or sought leave for

additional time to do so. Accordingly, the court ADOPTS the Report and Recommendation

(Doc. No. 6) in its entirety. Petitioner’s application for leave to proceed in forma pauperis

(Doc No. 2) is DENIED.

       Petitioner is advised that unless he pays the $5.00 filing fee in full to the Clerk of

the Court on or before November 30, 2021, or to show good cause for his failure to do so,

this action shall be subject to dismissal without prejudice. See LCvR 3.3(e).

       IT IS SO ORDERED this 9th day of November, 2021.




                                             2
